Case 6:06-cV-00559-LED-.]DL _Document 2 'F'i|ed' '12/22/06' 'Page 1 of 3 Page|D #: 32

§ IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXA
_ TYLER DIVISION

 

Arthur Carson,#$l?349
Plaintiff’s name and ID Nnmber

Mich.ael Unit;-TDCJ-CID

 

 

Place of Confinement

cAsE No_ fe C@Oi/LS_SEY

(Clerk will assign the number)

 

 

`.V.
APPLICATION TO PROCEED
IN FORMA PAUPERIS
iii anne 'Johnson , Mic'hael' Un'it-TDCJ~CID
- Defendant’s name and address ' '
I, - Ar thur ear 305 ` ,- declare, depose, and say I am the Plaintiff in the above entitled case. In support

_of my motion to proceed without being required to prepay fees, costs, ` or give security therefor, 'I state because of my

poverty, I am unable to pay in advance the filing fee for said proceedings or to give security for the filing fee. I believe I
am entitled to relief._ ' .

I, further declare the responses which l have made to the questions and instructions below are true.

1. Have you received, within the last 12 months, any money from any of the following sources‘?-
- a. Business, profession or from seif-en‘tployment? Yes \:| kNo El’
_ 'b.l Rent payments, interest or dividends? Yes l'_`! 'No |Z'
c. Perisions, annuities or life insurance payments? Yes [! No
d. Gins or inheritances? ' . Yes 53 No @/
e. ` Family or friends? ' ~' Yes |Zf No [}
f. Any other sources? l - - Yes 1:| No

if you answered YES _to any of the questions above, describe each source of money and state
the amount received from each during the past 12 months

®CCAS$»"@W firms F°f?~ 531 F MR?”T€MMC€,`iT€M @.»‘rm OFF/‘ch+£' $‘
farmer twva /f:' 1 ,“r>€aru>aem ‘ rail/jai sms air a zJ»vO swan when ean

2. Do.you own cash, or do you have money in a checking or savings account, including any funds
' 'in prison accounts?

Yes \:l NO l*__’l(

If you answered YES to any of the questions above, state the total value of the items owned.

 

 

nA:rcIFP (an. 9/02)

Case"6:06-@(`\/-00559-LED-JDL Documem 2 Filed 12/22/06 Page 2 of 3 PagelD #: 33

3. Do you own real estate, stocks, bonds, note, automobiles, or other valuable property, excluding
ordinary household furnishings and clothing?

Yes ij No E{

If you answered YES, describe the property and state its approximate value.

 

 

I understand a false statement in answer to any question in this affidavit will subject me to penalties for
perjury. I declare (certify, verify, or state) under penalty of perjury that the foregoing is true and correct
(28 U.S`.C. §1746).

7 Signed this the/,_Z'Z%' day of D€C Ei/“~‘l@)gn~ , 20 iii/6 .

nn /M

Signature of Plaintiff _ ID Number

YOU Ml§'[ ATI`ACH A CURRENT SIX (6) MONTH HISTORY OF
YOUR INMATE TRUST`ACCOUNT.; YOU _CAN ACQUIRE THE
APPROPRIATE INMATE ACCOUNT CERTIFICATE FROM THE
LAW' LIBRARY AT YOUR PRISON UNIT.

2 ' ` nATchP (Rsv. 9/02)

‘ll`i

manners sna?‘:n“:;?tntwen
1a hioama gauge are
senses inniitow mzrninnh
nasrmnrws

C'INE E${:!EINIBGE ?EXQE
MI? jfhtieneo
TDCJ#: GGBIVEQW SIE#: 91
NHME;jCHREGN$QRTHUR wQTNE
PREVIBUB TDCJ NL!ME G{e?i?$§
EURRENT BP‘.: tE,§B TH? HULD &MT:
bMTH UEPS &G"EO MMTM HVE B@L;
MHNTH HIEHE£T BQLRNEE FGYDL DEDDSETE

-._q jr al

i`_.'.t"\s..i ¢.

?Yiifii'é Ti"l iri I

ti#oe sa,$i G.QG nnf$e
§ iii C>€:\ iii-51 § t iiifll.r '€II€Z‘¢ .\T’,/'Qt':\
C;'?;,f;:}£; t“:,, t'ir'z t'_), zfzt;z if)€-. /‘_`ét§i

i:n"£:"“i{'§§iisr:"i" `i CZN

i»iiji_i'_"

F‘i'€`fjifi%l~".i§€i' I)t:t"ia; l~‘€,“}i.~i? iiti“`$iii`n`"?`

ins noms“
res nov ne
_»?n§ann anna nn none
somnorai nn?annsn aannsntne ann
ssi»ia F» ann an“"s ne sr rees

E:"~"i`tii'i"il§

on

   

ij§ii?i'"ii

"_t:”`-`

   

        

 

 

tdi -2.'1..!’: E r‘
§Jl* lz E£i”‘-i;i§:` F<i‘:"`

eve L~

er T
it i"i

§§ 159
ih TLSU

 

ff'l'i t'fti'

..,.\-:

enter

6: 06- -c\/- -00559- LED- .]DL Document 2 Filed 12/22/06 Page 3 of 3 Page|D #: 34

_§,1 ,

UBTI§E f igfggjns

ff SHSEJ:SQ

t INDIBENT §TE§

PERIUB: Q&/Qifon
DEP:
§§P:

VGW"HL HEBUG\

t.} s .5£:;

EG.Q$

- ‘\.Y's i.,}!.f.>

ante sor_ 'n

seas earn ann

eager enhance
aetna

3553 d C?€i!

n.oo
d
,€.
wi

___. ¢-....

> ,
t.`.. ..' n ;...‘

{i,, ;’ffzzc

3a

135 {)-.i;

n
§"ii:l!?t"j' Ti~i'_{i`_"i ij€}{:f...li`-"i§§i`si'i` 353 i-'-l `i“_l'"\ii_l§§§
§`i‘i“' §.' li§i"ii-

ij i.'.}i\i "i` iii li 94 i;'i;` §§ 1 l"-i "i" tel §§
’E£ l iii s -
i‘.;t ruing ‘.

NT t

§‘\ii:‘

   
  

   

  

Notsry
STATE OF TEXAS
“thhout Bond”

My mmm_ Exp_ 11 212-2007

  

 

l

tl‘r

ring f t_.» -:fi j 133 :jf)'

